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                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

UNITED STATES OF AMERICA                      )       CASE NO: CR 117-34
                                              )
       V.                                     )
                                              )
REALITY LEIGH WINNER                          )

                                   JOINT STATUS REPORT

       The United States of America, though the undersigned Assistant United States Attorney

and Trial Counsel, and Defendant, through her attorneys, state that they have not been able to

resolve the following pretrial motions and will require a ruling from the Court to settle the actual

controversy or dispute:

       ●       Motion To Suppress                                            Doc. no. 63

       ●       Motion For Leave To File Motion For Bill Of Particulars       Doc. no. 165

       ●       Motion In Limine Regarding 404(b) Evidence                    See Doc. no. 166

       The parties understand that the Court will require attendance at a hearing on any listed

motion and may require supplemental briefing prior to such hearing.      The parties also

understand that they will be required to explain to the Court what steps were taken to attempt to

resolve the motions without Court intervention.

       On December 27, 2017, the parties met-and-conferred to discuss the above-listed motions

and the preparation of a proposed Amended Scheduling Order.        Aside from discussing the

motions listed above, the parties identified and discussed numerous pretrial matters and events,

including pretrial matters and events not currently addressed in the operative scheduling order,

that will need to be contemplated and resolved in connection with any amended scheduling


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order, including but not limited to: (a) expert disclosures; (b) a discovery cut-off (including

deadlines for any amended discovery requests or Rule 17(c) subpoenas); (c) briefing and

hearings arising under the Classified Information Procedures Act (including submissions under

Sections 5, 6(a), and 6(c)); (d) additional motions in limine; and (e) other pretrial deadlines

(including deadlines for the disclosure of witness lists, exhibit lists, and Jencks Act materials).

The parties believe they have the basic structure of a proposed amended scheduling order with

realistic dates accompanying each event.     As certain discovery matters remain pending before

the Court that will directly affect scheduling, the parties respectfully request 14 days from the

date of the Court’s order on Defendant’s Appeal on her Motion to Compel to submit a proposed

Fifth Amended Scheduling Order.


                                               Respectfully submitted,

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                                               //s// Julie Edelstein


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                                   CERTIFICATE OF SERVICE


         This is to certify that I have on this day served all the parties in this case in accordance with

the notice of electronic filing (“NEF”) which was generated as a result of electronic filing in this

Court.

         This 8th day of January 2018.

                                                 BOBBY L. CHRISTINE
                                                 UNITED STATES ATTORNEY

                                                 //s// Julie A. Edelstein

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